Case 1:18-cv-01119-RB-LF Document 58-1 Filed 11/22/19 Page 1 of 8




                   EXHIBIT A
             Case
Oliver v. Service   1:18-cv-01119-RB-LF
                  Employees                      Document
                            International Union Local           58-1 Filed
                                                      668, --- F.Supp.3d        11/22/19
                                                                         ---- (2019)                Page 2 of 8
2019 WL 5964778

                                                                refund while she was a member. 1 Furthermore, Plaintiff's
                  2019 WL 5964778                               damages claim is one for violation of constitutional rights
    Only the Westlaw citation is currently available.           brought under 42 U.S.C. § 1983, and she cannot meet the
    United States District Court, E.D. Pennsylvania.            requirement of state action. Even if she could, the Union
                                                                would be protected by its good-faith reliance on settled law
            Shalea OLIVER, Plaintiff,                           until Janus was decided.
                       v.
      SERVICE EMPLOYEES INTERNATIONAL                           1      In her complaint, Plaintiff requested damages in the
        UNION LOCAL 668 et al., Defendants.                            form of (1) all dues paid to the Union before the June
                                                                       27, 2018, Janus decision and (2) all dues paid after
                CIVIL ACTION No. 19-891                                the Janus decision. The Union has already refunded
                            |                                          all dues paid to Plaintiff from the August, 10, 2018
                 Filed November 12, 2019                               date of her resignation letter, and so Plaintiff effectively
                                                                       seeks a refund of all dues paid prior to that date. I deal
Attorneys and Law Firms                                                with Plaintiff's request for declaratory and injunctive
                                                                       relief regarding exclusive representation in my opinion
Charles O. Beckley, II, Beckley & Madden, Harrisburg, PA,              regarding Plaintiff's claims against the Commonwealth.
Daniel R. Suhr, Jeffrey Schwab, Chicago, IL, for Plaintiff.
                                                                As to Plaintiff's claim for declaratory relief with respect
                                                                to the operation of PERA, she lacks standing, because she
                                                                was permitted to resign from membership and the current
                    MEMORANDUM                                  collective bargaining agreement between the Commonwealth
                                                                and Local 668 does not include the “union security” clause
Gerald Austin McHugh, United States District Judge
                                                                to which she objects. For these reasons, the Union's motion
 *1 This is an action brought in the aftermath of Janus v.      for summary judgment and motion to dismiss will be granted,
AFSCME, 138 S. Ct. 2448 (2018), in which a sharply divided      and Plaintiff's motion for summary judgment will be denied.
Supreme Court significantly altered the structure under
which public employee unions operate when it overruled
                                                                   I. Factual Background
long-standing precedent, declaring the practice of collecting
                                                                Plaintiff Shalea Oliver is an employee of the Pennsylvania
fees from non-member employees unlawful. Plaintiff here,
                                                                Department of Human Services working as an Income
a former union member who resigned from the union
                                                                Maintenance Caseworker in the Philadelphia County
after Janus was decided, seeks monetary damages against
                                                                Assistance Office. Employees at the Philadelphia County
Defendant, Service Employees International Union Local 668
                                                                Assistance Office are represented in collective bargaining by
(or the Union), for membership dues paid to the Union from
                                                                Local 668, and at the time of Plaintiff's hiring, a Collective
the beginning of her employment in December 2014 through
                                                                Bargaining Agreement (CBA) existed between Local 668
the date of her resignation in August 2018. Although nothing
                                                                and the Commonwealth as authorized by PERA. The CBA
compelled Plaintiff to join the Union, she argues that she
                                                                at that time included union security provisions, authorized
cannot have given her “affirmative consent” in her choice
                                                                by 43 P.S. §§ 1101.301(18), 1101.401, and 1101.705, which
to become a member and is now entitled to a full refund of
                                                                restricted the window of time in which Local 668 members
her membership dues. Plaintiff further seeks a declaratory
                                                                could withdraw their membership and cease paying full
judgment that certain provisions of Pennsylvania's Public
                                                                membership dues.
Employe Relations Act (PERA) are unconstitutional as
applied to her.
                                                                 *2 Upon being hired in December 2014, Plaintiff was
                                                                presented with a choice as then-sanctioned by the Supreme
The parties have agreed to proceed through cross-motions for
                                                                Court's decision in Abood v. Detroit Board of Education, 431
summary judgment on a stipulated record.
                                                                U.S. 209 (1977), and PERA: either enroll in Local 668 as a
                                                                member and have full membership dues deducted regularly
As to Plaintiff's damages claim, the Union promptly refunded
                                                                from her pay, or decline membership and contribute a reduced
all dues deducted from her pay once she resigned from
membership, and there is no factual or legal basis for any      amount in the form of agency fees. 2 Plaintiff elected to enroll



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             Case
Oliver v. Service   1:18-cv-01119-RB-LF
                  Employees                      Document
                            International Union Local           58-1 Filed
                                                      668, --- F.Supp.3d        11/22/19
                                                                         ---- (2019)               Page 3 of 8
2019 WL 5964778

as a member in the Union. On June 27, 2018, the Supreme
Court issued its opinion in Janus v. AFSCME, 138 S. Ct.           Local 668 has also filed a motion to dismiss pursuant to
2448 (2018), overruling Abood and holding that charging           Federal Rule of Civil Procedure 12(h)(3), on the basis that
agency fees to non-member employees in public sector unions       Plaintiff lacks standing to pursue its claims for declaratory
was unconstitutional under the First Amendment. On August         relief as to the application of 43 P.S. §§ 1101.301(18),
10, 2018, Plaintiff sent a letter to Local 668 announcing         1101.401, and 1101.705. Rule 12(h)(3) provides: “Whenever
her resignation from the Union and requesting the cessation       it appears by suggestion of the parties or otherwise that the
of dues deductions. The Union transmitted the letter to the       court lacks jurisdiction of the subject matter, the court shall
Commonwealth on September 20, 2018, instructing it to             dismiss the action.”
cease deducting dues. When the Commonwealth did not
immediately respond, the Union wrote again in November
2018 and January 2019, until the requested action was taken,        III. Discussion
and Local 668 refunded to Plaintiff the amount deducted in
the interim, a total of $287.49. Stipulation ¶¶ 18-23, ECF 35.             A. Plaintiff's Voluntary Choice to Join
Plaintiff is no longer a member of Local 668 and does not pay             Local 668 Defeats Her Claim for Damages
any dues to the Union.
                                                                  When Plaintiff was hired, PERA made clear that she was not
2                                                                 obligated to join the Union:
       Agency fees, or “fair share” fees, were reduced payments
       that public sector unions could collect from non-          “It shall be lawful for public employes to organize, form,
       member employees solely for the purposes of fulfilling     join or assist in employe organizations... and such employes
       their collective bargaining obligations. The levying       shall also have the right to refrain from any or all such
       of agency fees had been endorsed by Abood as a             activities.” 3 43 P.S. § 1101.401. It is difficult to comprehend
       method for, inter alia, preventing non-members from        how Plaintiff can complain that she was compelled to join
       “free riding” off of unions' efforts to obtain benefits    the Union in violation of her First Amendment right of free
       for all represented employees, while also recognizing
       non-members' First Amendment rights to refrain from        association. 4 There was no legal compulsion for her to join,
       subsidizing ideological activity they were opposed to.     and the economic advantage in declining membership and
       Abood, 421 U.S. at 221-22. Workplaces governed by          paying an agency fee would have been self-evident. 5 Plaintiff
       CBAs that allow for the collection of agency fees are      contends that if only she had known of a constitutional right
       known as agency shops.                                     to pay nothing for services rendered by the Union—despite
Following Janus, Local 668 and the Commonwealth entered           knowledge of her right at the time to refuse membership
into a Side Letter effective April 2, 2019, modifying the         and pay less— she would have declined union membership
CBA and effectively nullifying the union security provisions      completely. I can discern no logic in such a position. Plaintiff
it contained by allowing members to resign at any time from       has not alleged she was actively pressured to join, and the
that date forward. The Side Letter has since been superseded      Supreme Court has held that that background social pressure
by a new CBA which lacks any union security provisions.           employees may feel to join a union is “no different from
                                                                  the pressure to join a majority party that persons in the
                                                                  minority always feel” and “does not create an unconstitutional
   II. Standard of Review                                         inhibition on associational freedom.” Knight v. Minnesota
Plaintiff and Local 668 have filed cross-motions for summary      Community College Faculty Association, 465 U.S. 271, 290
judgment pursuant to Federal Rule of Civil Procedure 56(a).       (1984). Not surprisingly, other courts have held that “[w]here
A grant of summary judgment is appropriate “if, drawing all       the employee has a choice of union membership and the
inferences in favor of the nonmoving party, the pleadings, the    employee chooses to join, the union membership money is
discovery and disclosure materials on file, and any affidavits    not coerced. The employee is a union member voluntarily.”
show that there is no genuine issue as to any material fact and   Kidwell v. Transportation Communications Int'l Union, 946
that the movant is entitled to judgment as a matter of law.”      F.2d 283, 292-93 (4th Cir. 1991). Accord Farrell v. IAFF, 781
Am. Eagle Outfitters v. Lyle & Scott Ltd., 584 F.3d 575, 581      F. Supp. 647, 649 (N.D. Cal. 1992).
(3d Cir. 2009). The parties have submitted stipulated facts and
agree that there are no genuine issues of material fact present
in this case.


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             Case
Oliver v. Service   1:18-cv-01119-RB-LF
                  Employees                      Document
                            International Union Local           58-1 Filed
                                                      668, --- F.Supp.3d        11/22/19
                                                                         ---- (2019)                   Page 4 of 8
2019 WL 5964778

3      The irregular spelling “employe” appears in public           United States, 397 U.S. 742, 756-57 (1970); United States v.
       sector labor law statutes of other states as well. The       Johnson, 67 F.3d 200, 201-02 (9th Cir. 1995).
       Wisconsin Court of Appeals examined this anomaly
       with respect to its own statute and determined that it       6       “Unless the rule or its enforcement impinges on some
       resulted from a deliberate decision made by the statute's            policy of the federal labor law, the regulation of the
       original drafter to prevent typographical errors: “Since             relationship between union and employee is a contractual
       ‘e’ and ‘r’ are right next to each other on the typewriter           matter governed by local law.” Scofield v. NLRB,
       keyboard, there's a real risk that ‘employer’ might be               394 U.S. 423, 426 n.3 (1969); see also Int'l Ass'n
       typed ‘employee,’ and vice-versa.” Richland Sch. Dist. v.            of Machinists v. Gonzales, 356 U.S. 617, 618 (1958)
       Dep't of Indus., Labor & Human Relations, Equal Rights               (holding the “contractual conception of the relation
       Div., 479 N.W.2d 579, 583 n.1 (Wis. Ct. App. 1991).                  between a member and his union widely prevails in this
4                                                                           country”); James v. Int'l Bhd. of Locomotive Engineers,
       At the Rule 16 Conference, Plaintiff's Counsel was
                                                                            302 F.3d 1139, 1146 (10th Cir. 2002) (“It is well settled
       unable to identify any values exemplified by the Union
                                                                            that the relationship existing between a trade union and
       or any positions it has taken that were objectionable to
                                                                            its members is contractual and that the constitution ...
       Plaintiff.
                                                                            constitute[s] a binding contract.”) (citations omitted).
5      The parties have stipulated that agency fees would have      Given the strength of these principles and their applicability to
       amounted to 56.1 percent of full union dues. Stipulated      this context, federal courts have been unanimous in rejecting
       Facts ¶ 13.
                                                                    claims brought by former union members seeking to rescind
 *3 In codifying Plaintiff's right to refrain from joining          membership retroactively. Bermudez v. SEIU Local 521, 2019
the Union, PERA was following Supreme Court precedent               WL 1615414, at *2 (N.D. Cal. Apr. 16, 2019); Belgau v.
established long before Janus. The “First Amendment right           Inslee, 359 F. Supp. 3d 1000, 1016 (W.D. Wash. 2019);
to opt out of union membership was clarified in 1977 [by            Cooley v. Cal. Statewide Law Enforcement Ass'n., 2019 WL
Abood],” with the result that an employee's decision to join        331170, at *3 (E.D. Cal. Jan. 25, 2019); Smith v. Sup. Ct., Cty.
a union thereafter must be viewed as voluntary. Smith v. Sup.       of Contra Costa, 2018 WL 6072806, at *1 (N.D. Cal. Nov.
Ct., Cty. of Contra Costa, 2018 WL 6072806, at *1 (N.D.             16, 2018); Seager v. UTLA, 2019 WL 3822001, at *2 (C.D.
Cal. Nov. 16, 2018). Nothing in Janus suggests otherwise; in        Cal. Aug. 14, 2019); Babb v. California Teachers Assn., 378
fact, the plaintiff there had invoked his right not to join the     F. Supp. 3d 857, 877 (C.D. Cal. 2019).
defendant union and was an agency-fee payer.
                                                                    Plaintiff may now regret the bargain she struck with the
In further analyzing whether Plaintiff's decision to join the       Union by choosing to become a member, but such later
union was voluntary, it is important to bear in mind the            regret does not suffice to show that her past choice was
relationship between Plaintiff and the Union was contractual        unlawfully coerced or compelled. The facts to which the
in nature. 6 A subsequent change in the law does not permit         parties have stipulated cannot support a claim that Plaintiff
a party to a contract who has enjoyed the benefit of the            was compelled to associate with Local 668 in violation of her
bargain to rescind it with the benefit of hindsight. See            First Amendment rights. 7
Coltec Industries, Inc. v. Hobgood, 280 F.3d 262, 274-75
(3d Cir. 2002) (declining to allow party to revisit settlement      7       Agency fees are not at issue in this case, because they
agreement because of a change in background law, holding                    would be subsumed by the union dues that Plaintiff
that it chose to do so “exchange for valuable consideration”                voluntarily paid. Even if they were, no federal court
and “must bear the consequences of its informed, counseled                  has interpreted Janus as entitling non-members to a
and voluntary decision”); see also Ehrheart v. Verizon                      refund of agency fees. See Cook v. Brown, 364 F. Supp.
Wireless, 609 F.3d 590, 595 (3d Cir. 2010) (“Of particular                  3d 1184, 1193 (D. Or. 2019) (noting that “there is no
concern in Coltec was the belief that the company was                       indication that Janus intended to open the floodgates to
attempting to escape the consequences of a bargain it                       retroactive monetary relief”); Hough v. SEIU Local 521,
regretted in hindsight.”). As the Union points out, even in                 2019 WL 1785414, at*1 (N.D. Cal. Apr. 16, 2019); Babb
the profoundly serious context of plea agreements in criminal               v. California Teachers Association, 378 F. Supp. 3d at
                                                                            876 (C.D. Cal. 2019); Wholean v. CSEA Local 2001,
cases, a later development in the law benefiting a defendant
                                                                            2019 WL 1873021, at *3 (D. Conn. April 26, 2019);
does not permit that defendant to revoke a plea. Brady v.
                                                                            Bermudez v. SEIU, Local 521, 2019 WL 1615414, at



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             Case
Oliver v. Service   1:18-cv-01119-RB-LF
                  Employees                      Document
                            International Union Local           58-1 Filed
                                                      668, --- F.Supp.3d        11/22/19
                                                                         ---- (2019)                        Page 5 of 8
2019 WL 5964778

        *1 (N.D. Cal. Apr. 16, 2019); Mooney v. Illinois Educ.          undertakes “an activity that is significantly encouraged by the
        Ass'n., 372 F. Supp. 3d 690, 707 (C.D. Ill. 2019); Janus v.     state or in which the state acts as a joint participant” would
        AFSCME, ––– F.3d ––––, 2019 WL 5704367, at *11-12               be a state actor under § 1983. Id. at 340. “Determining state
        (7th Cir. Nov. 5, 2019).                                        action in such cases requires tracing the activity to its source
                                                                        to see if that source fairly can be said to be the state.” Id. Stated
                                                                        differently, “[t]he question is whether the fingerprints of the
            B. 42 U.S.C. § 1983 and State Action
                                                                        state are on the activity itself.” Id. Alternatively, “an actor
 *4 Even assuming for the sake of discussion that Plaintiff             that is controlled by the state, performs a function delegated
were able to show that her choice to join Local 668 was                 by the state, or is entwined with government policies or
somehow unlawfully compelled, she would not be able to                  management” can implicate § 1983 state action doctrine. Id.
vindicate her rights against the Union through a § 1983 suit
because the Union was not acting under “color of state law.”            8       The defendants in Leshko were former foster parents to
In determining whether the conduct at issue was taken under                     the plaintiff, and the foster care program is governed
the color of state law, courts determine whether the action                     by Pennsylvania state law and regulations. See 55 Pa.
may “be fairly attributable to the State.” Lugar v. Edmondson                   Code §§ 3700 et. seq; 42 Pa. §§ 6301 et. seq. As such,
Oil Co., 457 U.S. 922, 937 (1982). There are two prongs to                      the Leshko Court's understandably focused on the second
the “fair attribution” test: first, the conduct responsible for the             prong of Lugar's fair attribution test, whether the parents
                                                                                were state actors for the purpose of § 1983 liability. Th e
alleged deprivation must have been “caused by the exercise
                                                                                first prong of the Lugar test was easily satisfied.
of some right or privilege created by the State or by a rule
of conduct imposed by the state or by a person for whom the             9       It is worth echoing the Third Circuit's characterization of
State is responsible”; and second, “the party charged with the                  state action doctrine as “labyrinthine.” Leshko, 423 F.3d
deprivation must be a person who may fairly be said to be                       at 338. Even while articulating the inquiry in terms of
a state actor.” Id.; see also American Manufacturers Mutual                     there existing a close nexus between the state and the
Insurance Co. v. Sullivan, 526 U.S. 40, 50 (1999) (quoting                      challenged action, the Leshko Court acknowledged there
both prongs of Lugar test). Plaintiff satisfies the first part of               is “no ‘simple line’ between states and private persons.”
the fair attribution test. The Commonwealth has established                     Id. at 339. In Kach v. Hose, 589 F.3d 626, 646 (3d. Cir.
                                                                                2009), the Third Circuit reaffirmed Leshko's formulation
an intricate and thorough statutory scheme governing public
                                                                                of the inquiry but made additional reference to “three
sector collective bargaining through PERA. Although it is
                                                                                broad tests generated by Supreme Court jurisprudence”
true that Plaintiff was not compelled under PERA to become
                                                                                that it had outlined in an earlier case, Mark v. Borough
a member of the Union, Local 668 was only able to lawfully                      of Hatboro, 51 F.3d 1137 (3d. Cir. 1995). As formulated
collect membership dues from Plaintiff and other employees                      by Mark and Kach, these tests are: (1) “whether the
through authorization conferred by PERA.                                        private entity has exercised powers that are traditionally
                                                                                the exclusive prerogative of the state”; (2) “whether the
Plaintiff's claim founders, however, at the second part of the                  private party has acted with the help of or in concert
test, as Local 668 is not a “state actor” for the purposes of §                 with state officials”; and (3) whether “the [s]tate has so
1983. In determining whether a party is a state actor under                     far insinuated itself into a position of interdependence
§ 1983, the Third Circuit applies Fourteenth Amendment                          with the acting party that it must be recognized as a
state action doctrine. Leshko v. Servis, 423 F.3d 337, 339                      joint participant in the challenged activity.” Kach, 589
(3d. Cir 2005) (“We consider actions ‘under color of law’                       F.3d at 646 (quoting Mark). In my view, the Leshko
                                                                                Court's categorization of state action cases, along with
as the equivalent of ‘state action’ under the Fourteenth
                                                                                the fair attribution test laid out by Lugar, are largely
Amendment.”). 8 The primary question guiding the inquiry is                     complementary with the criteria that comprise the “broad
whether “there is such a ‘close nexus between the State and                     tests” previously identified by the Third Circuit in
the challenged action’ that seemingly private behavior ‘may                     Mark and Kach. Furthermore, both Leshko and Kach
be fairly treated as that of the State itself.’ ” Id. at 340 (quoting           emphasize that the state action inquiry is fact-specific,
Brentwood Acad. v. Tennessee Secondary Sch. Athletic Ass'n,                     and thus resistant to fixed categorization. Leshko, 423
                                                                                F.3d at 339; Kach, 589 F.3d at 646.
531 U.S. 288, 295 (2001)). 9 Leshko further refined the
inquiry by identifying two factual categories of cases that              *5 It is simple to dispense with the second category of cases
may constitute state action, those involving activities and             identified by Leshko. Local 668 is not an actor controlled
those involving actors. Under Leshko, a private party that              by the state, is not performing a function delegated by


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             Case
Oliver v. Service   1:18-cv-01119-RB-LF
                  Employees                      Document
                            International Union Local           58-1 Filed
                                                      668, --- F.Supp.3d        11/22/19
                                                                         ---- (2019)                   Page 6 of 8
2019 WL 5964778

the state, and is not entwined with government policies            mandate the existence or content of, for example, seniority
or management. The leadership, bylaws, operations, and             clauses, work rules, staffing requirements, or union security
priorities of Local 668 are all determined by its membership,      provisions like agency shop clauses or mandatory payroll
not by the Commonwealth. Local 668 has not been                    deductions for union dues,” and “the parties, like any two
delegated any state functions, nor does it rely upon material      parties to a private contract, were still free to adopt or reject
resources from the state in carrying about its own activities.     an agency shop clause” in their CBA. Id. at 478. 10 Both
Additionally, although public sector collective bargaining         plaintiffs in those cases were unsuccessful in arguing that the
is sanctioned by the Commonwealth, Local 668 does not              NLRA's authorization of agency shop provisions in CBAs
play a managerial role in shaping government policies or           was enough to satisfy § 1983's state action requirements.
management decisions; to the contrary, it negotiates with the
Commonwealth in an adversarial posture on behalf of its            10      Plaintiff cites to Abood, Beck v. Communications
membership. All these facts would indicate that Local 668 is
                                                                           Workers of America, 776 F.2d 1187 (4th Cir. 1985),
not a state actor under Leshko.
                                                                           and Linscott v. Millers Falls Co., 440 F.2d 14 (1st Cir.
                                                                           1971), for the proposition that a public-sector union
In determining whether the activity of enrolling public sector             acting pursuant to an agency shop agreement authorized
employees as members pursuant to agency shop provisions                    by statute is “state action.” But within this circuit, White
constitutes state action, Local 668 emphasizes that public                 controls, and the White Court explicitly noted a split
sector employees had and continue to have the option                       among the circuits and chose to follow Kolinske. White,
of joining or refraining from joining unions as members.                   350 F.3d at 353. It is also important to note that the
Moreover, as Local 668 correctly observes, it is unlawful                  cases on which Abood relied, Employes' Dept. v. Hanson,
for the Commonwealth or public sector unions to coerce                     351 U.S. 225 (1956) and Machinists v. Street, 367 U.S.
employees into becoming members, because PERA confers                      740 (1961), were concerned with the Railway Labor Act
                                                                           (“RLA”), which goes further than the NLRA or PERA
a statutory right on employees to abstain from taking part
                                                                           by not merely permitting parties to bargain for agency
in union activity. These arguments reinforce the fact that
                                                                           shop agreements, but also preempting any state laws that
the state cannot be said to putting its thumb on the scale in
                                                                           might otherwise seek to prevent parties from agreeing to
promoting union membership enrollment. Weighing against                    implement union shop provisions, which require union
the Union's position is the broader structural context through             membership as a condition of employment. 45 U.S.C. §
which Local 668 and the Commonwealth interact in the                       152 subd. 11.
collective bargaining process. Local 668 is only able to
                                                                    *6 Although White and Kolinske did not involve public
organize, enroll, and collect dues from members insofar
                                                                   employee unions, their shared rationale also has logical
as it has been authorized to do so by PERA, and the
                                                                   force in this context. Like its NLRA counterpart, PERA
Commonwealth is authorized to deduct dues payments from
                                                                   does not mandate the inclusion of agency shop provisions
employee paychecks.
                                                                   in agreements negotiated between the Commonwealth and
                                                                   public sector unions, but instead merely authorizes them.
None of these facts, however, rise to the level required to
                                                                   The fact that the parties availed themselves of the collective
find that the Commonwealth is a “joint participant” for the
                                                                   bargaining procedures established by PERA is not sufficient
purposes of state action under § 1983. The Third Circuit has
                                                                   to establish state action. Finding otherwise would contradict
analyzed this question with respect to the National Labor
                                                                   the principles of White.
Relations Act (NLRA), a statute analogous to PERA in
many respects, squarely holding that “state action is not
                                                                   In searching for additional avenues to bolster its argument that
present” in circumstances involving “actions taken by a
                                                                   state action is present, Plaintiff cites to several cases which
union pursuant to an agency-shop provision in a collective
                                                                   hold that dues authorization constitutes a contract between the
bargaining agreement.” White v. Communications Workers of
                                                                   employee and the employer, not the Union. Pl.'s Resp. to Mot.
America, AFL-CIO, Local 1300, 370 F.3d 346, 349-50 (3d
                                                                   for Summ. J. at 3-4, ECF 39; see, e.g., Int'l Ass'n of Machinists
Cir. 2004). In doing so, the White Court adopted the analysis
                                                                   Dist. Ten v. Allen, 904 F.3d 490, 492 (7th Cir. 2018) (“A dues-
of the District of Columbia Circuit in an earlier case, Kolinske
                                                                   checkoff authorization is a contract between an employer
v. Lubbers, 712 F.2d 471 (D.C. Cir. 1983), which had found
                                                                   and employee for payroll deductions....The union itself is
that the NLRA's authorization of agency shop provisions
did not amount to state action because the “NLRA does not          not a party to the authorization.”). 11 If dues deduction



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             Case
Oliver v. Service   1:18-cv-01119-RB-LF
                  Employees                      Document
                            International Union Local           58-1 Filed
                                                      668, --- F.Supp.3d        11/22/19
                                                                         ---- (2019)                 Page 7 of 8
2019 WL 5964778

authorizations are properly considered as two-party contracts     assignment or that the employer is its “source” under Leshko.
between the employee and the employer, Plaintiff reasons,         As a result, the Union is not involved in state action by
then state action must necessarily be implicated.                 collecting dues pursuant to an agency-shop agreement with
                                                                  the employer. 12
11     See also NLRB v. Atlanta Printing Specialties & Paper
       Prods. Union, 523 F.2d 783, 785 (5th Cir. 1975); NLRB      12     In Janus v. AFSCME, ––– F.3d ––––, 2019 WL 5704367
       v. U.S. Postal Serv., 827 F.2d 548, 554 (9th Cir. 1987).          at *7 (7th Cir. Nov. 5, 2019), following remand, the
I find this view of dues-deduction provisions unrealistic and            Seventh Circuit recently reached a different conclusion
artificial, because once the Commonwealth has issued a wage              as to state action even as it rejected the plaintiff's claim
payment under the CBA to its employee it has no beneficial               for a refund of his agency fee payments. But I am bound
interest in any portion of those wages. In deducting dues from           by White, and in any event do not find the Seventh
                                                                         Circuit's analysis persuasive for the reasons set forth
the employee's pay it is simply acting as a transfer agent
                                                                         above.
carrying out the separate agreement between the union and
its member. Such an arrangement is, as the National Labor
Relations Board has found, accurately described as a third-                          C. Good-Faith Defense
party assignment of a right:
                                                                   *7 Even if there were sufficient state action to permit a
                                                                  § 1983 suit against the Union to proceed, Local 668 would
            A check-off authorization is that                     nonetheless prevail based upon its good-faith belief that it
            special form of contract defined in                   was complying with statutory and constitutional law prior
            the Restatement 2d, Contracts Section                 to Janus. Numerous federal courts have held that good-faith
            317 (1981), as an “assignment of a                    reliance on prior precedent defeats refund claims brought in
            right.” More specifically, a checkoff                 the aftermath of Janus. 13 The Third Circuit, following the
            authorization is a partial assignment                 Fifth Circuit's lead, has found that “private defendants should
            of a future right, that is, an employee               not be held liable under § 1983 absent a showing of malice and
            (the assignor) assigns to his union                   evidence that they either knew or should have known of the
            (the assignee) a designated part of                   statute's constitutional infirmity.” Jordan v. Fox, Rothschild,
            the wages he will have a right                        O'Brien & Frankel, 20 F.3d 1250, 1274 n.29 (3d Cir. 1994)
            to receive from his employer (the                     (quoting Wyatt v. Cole, 994 F.2d 1113, 1120 (5th Cir. 1993)).
            obligor) in the future, so long as                    Under the Third Circuit's standard, Plaintiff would need to
            he continues his employment. The                      prove that the union had a “subjective” understanding that it
            employer is thereby authorized to pay                 was violating her rights or displayed “gross negligence” in
            the specified amounts to the union                    maintaining a belief that its conduct was lawful. Jordan, 20
            when the employee's right to wage                     F.3d at 1277-78. 14
            payments accrues.
                                                                  13     See, e.g., Janus v. AFSCME, ––– F.3d ––––, 2019 WL
                                                                         5704367 (7th Cir. Nov. 5, 2019); Danielson v. AFSCME
IBEW Local No.2088 (Lockheed Space Operations), 302                      Council 28, 340 F. Supp. 3d 1083, 1086 (W.D. Wash.
N.L.R.B 322, 327 (1991) (internal citations omitted).                    2018); Carey v. Inslee, 364 F. Supp. 3d 1220, 1232 (W.D.
                                                                         Wash. 2019); Cook v. Brown, 364 F. Supp. 3d 1184, 1193
The union's right to collect the dues is not created by                  (D. Or. 2019); Crockett v. NEA-Alaska, 367 F. Supp.
the Commonwealth; it is created by the union's contract                  3d 996, 1006 (D. Alaska 2019); Hough v. SEIU Local
with its members. The Commonwealth's role as employer                    521, 2019 WL 1274528 at *1 (N.D. Cal. Mar. 20, 2019),
role is strictly ministerial, implementing the instructions of           amended, 2019 WL 1785414 (N.D. Cal. Apr. 16, 2019);
the employee. The union would ultimately collect its due                 Lee v. Ohio Educ. Ass'n, 366 F. Supp. 3d 980, 981 (N.D.
regardless, but by some other means. It cannot credibly be               Ohio 2019); Mooney v. Illinois Educ. Ass'n, 372 F. Supp.
                                                                         3d 690, 706 (C.D. Ill. 2019); Bermudez v. SEIU Local
said that by affording the convenience of a dues check-
                                                                         521, 2019 WL 1615414 at *1 (N.D. Cal. Apr. 16, 2019);
off a public employer is “significantly encouraging” the
                                                                         Akers v. Maryland Educ. Ass'n, 376 F. Supp. 3d 563, 572



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             Case
Oliver v. Service   1:18-cv-01119-RB-LF
                  Employees                      Document
                            International Union Local           58-1 Filed
                                                      668, --- F.Supp.3d        11/22/19
                                                                         ---- (2019)                      Page 8 of 8
2019 WL 5964778

       (D. Md. 2019); Wholean v. CSEA SEIU Local 2001, 2019           of the employee's wishes. But this is intellectually dishonest
       WL 1873021 at *3 (D. Conn. Apr. 26, 2019); Babb, 378           because it ignores Paragraphs 6 through 8, which make clear
       F. Supp. 3d at 870; Hernandez v. AFSCME Cal., 386 F.           that the opposite is true. Side Letter, ECF 26-6. Moreover,
       Supp. 3d 1300, 1304 (E.D. Cal. 2019); Diamond v. Pa.           the parties have stipulated that the CBA in effect at the time
       State Educ. Ass'n, 2019 WL 2929875 at *29 (W.D. Pa.            has been superseded by an amended CBA, which does not
       July 8, 2019); Ogle v. Ohio Civil Svc. Employees Ass'n,        have a “maintenance of membership” provision. Stipulation
       AFSCME, Local 11, 397 F. Supp. 3d 1076, 1087-88 (S.D.          ¶ 7. Finally, as noted in my memorandum dismissing claims
       Ohio 2019).                                                    against the Commonwealth, because the Commonwealth has
14                                                                    no institutional incentive to lend support to the Union, there
       Though some courts and commentators have looked
       to common law tort analogues to determine whether              is no reasonable basis for suggesting that a violation might
       and how the good-faith defense should apply to private         recur.
       parties sued under § 1983, the Third Circuit has not
       required such an approach and it not my place to adopt         15      Plaintiff's citation to Knox v. SEIU, Local 1000, 567
       one.                                                                   U.S. 298 (2012) is inapposite. In Knox, the union
Plaintiff will not be able to do so on the record here. The                   levied a special assessment on non-members. Some non-
CBA's agency shop provisions were lawful under PERA, and                      members sued the union to obtain a refund: the district
                                                                              court found in favor of the plaintiffs but the Ninth Circuit
more importantly, were sanctioned by the Supreme Court
                                                                              reversed. After the Supreme Court granted certiorari,
in Abood. Their constitutionality had been considered and
                                                                              SEIU voluntarily refunded plaintiffs the assessments in
upheld by the Supreme Court multiple times after Abood,
                                                                              an effort to render their claims moot. Here, Plaintiff
including most recently in Harris v. Quinn, 573 U.S. 616                      resigned her membership several months before bringing
(2014). As noted at the outset, Janus was decided by a five-                  her suit, and thus lacks standing to have her claims
to-four majority, with a powerful dissent grounded in the                     heard before this court. Furthermore, the Union and the
doctrine of stare decisis. Against that background it would be                Commonwealth have since removed the union-security
unreasonable to hold that the Union should have known of the                  provisions at issue in the current CBA between them.
constitutional infirmity of agency shop provisions.
                                                                         IV. Conclusion
                                                                       *8 Plaintiff's claim for damages suffers from multiple
  D. Plaintiff's Claims for Declaratory Relief Are Moot               defects, the most significant of which is that the record cannot
                                                                      support a conclusion that she was in any sense compelled to
Finally, Plaintiff's claims for declaratory and injunctive            join the Union. Furthermore, Plaintiff is no longer a member
relief regarding the application of 43 P.S. §§ 1101.301(18),          of the Union and the current CBA does not contain any union
1101.401, and 1101.705 suffers from lack of standing and              security provisions, creating issues as to both standing and
mootness. As Plaintiff is no longer a member of the Union, she        mootness. Accordingly, I grant both Local 668's Motion for
has no cognizable interest in determining the constitutionality       Summary Judgment and its Motion to Dismiss, and deny
of the union security provisions, and an opinion rendered by          Plaintiff's Motion for Summary Judgment.
me on the issue would be advisory. 15 City of Erie v. Pap's
A.M., 529 U.S. 277, 287 (2000). As to mootness, Plaintiff
                                                                      All Citations
obtained relief even before the Side Letter was negotiated.
Plaintiff cites Paragraph 5 of the the Side Letter to suggest         --- F.Supp.3d ----, 2019 WL 5964778
that the Commonwealth is required to deduct dues regardless

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